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                    EXHIBIT B
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                                                                                                         WASHINGTON DC




                                                                               August 3, 2021



         VIA EMAIL

         Michael Tubach, Esq.
         O’Melveny & Myers LLP
         Two Embarcadero Center, 28th Floor
         San Francisco, CA 94111-3823

                  Re:     United States v. Jayson Penn, et al., No. 20-cr-00152-PAB (D. Colo.)
                          Rule 17(c) Trial Subpoena to Pilgrim’s Pride Corporation

         Dear Michael:

                 We represent Pilgrim’s Pride Corporation (“Pilgrim’s”) in connection with the Rule 17(c)
         trial subpoena that we understand you and the other counsel to the Defendants in the above
         referenced matter intend to serve on Pilgrim’s (the “Subpoena”).1

                 On its face, the Subpoena and its requests for production are fatally overbroad under the
         stringent requirements of Federal Rule of Criminal Procedure 17(c) and United States v. Nixon,
         418 U.S. 683, 700 (1974). Among other things, the Subpoena contains overbroad language such
         as “all documents,” “any and all,” and “including but not limited to.” Furthermore, you have
         failed to specifically identify the documents sought, what the contents of those documents
         contain, and how the identified documents are relevant or admissible. Indeed, as to several
         requested categories you already have received substantial productions of documents from the
         government containing many of those documents, and yet you fail to acknowledge this fact or to
         identify which specific documents you believe exist that you have not yet received. Other
         requests seek documents that you do not have a basis to contend that you know exist, or seek
         unidentified communications that you should know – if they did exist – would consist mostly of
         inadmissible hearsay. In addition, the requests on their face seek information that is protected by



         1
           As of this writing, we are not aware that the Subpoena has been served on Pilgrim’s. Nor has a courtesy copy
         been provided to either us or in-house counsel at Pilgrim’s.
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 Michael Tubach, Esq.
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 the attorney-client privilege, the attorney work product doctrine and the accountant-client
 privilege.

          Moreover, despite your inaccurate description to the Court that compliance with the
 Subpoena would require “minimal effort,” as you are undoubtedly aware, it likely will take many
 months and cost millions of dollars to review the many hundreds of thousands, if not millions of
 documents, that are requested, most of which are (i) irrelevant, (ii) inadmissible, (iii) already in
 your possession, and/or (iv) protected by privileges and/or constitute attorney work product. For
 all of these reasons, among others, the proposed Rule 17(c) subpoena is improper, and Pilgrim’s
 has no choice except to move to quash the Subpoena and for a protective order.

        We nevertheless are willing to meet-and-confer to discuss what specifically identifiable,
 relevant, and admissible evidence that you know exists and Pilgrim’s possesses that would be
 responsive and not unduly burdensome to produce – provided you can represent that such
 evidence has not already been produced to you by the Department of Justice.

         To enable us to appropriately evaluate and respond to the Subpoena, we ask that you
 please identify by the close of business tomorrow, Wednesday, August 4, 2021: (i) the specific
 documents or sharply defined categories of documents you know exist and are seeking (and that
 you have not already received through the government’s reproduction of Pilgrim’s voluminous
 document productions from the civil antitrust litigation and in response to the government’s
 grand jury subpoena to Pilgrim’s); (ii) what information the specific documents or sharply
 defined group of documents contain; (iii) why the contents of those documents are relevant to
 your defense (i.e., the absence of which essential element of the crime they will demonstrate);
 and (iv) why those specific documents or sharply defined category of documents would be
 admissible at trial. Provided we receive the requested information by close of business
 tomorrow, we are available to meet and confer on Thursday after 4:00 pm (ET).

                                                              Sincerely,

                                                              /s/ Daniel J. Fetterman

                                                              Daniel J. Fetterman



 cc.:   All Defense Counsel
